Case 2:05-cv-02168-BBD-dl<v Document 14 Filed 06/02/05 Page 1 of 2 Pag/e|D 10
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SM|TH MASONRY, INC.,

P|aintiff, Case No.: 05-2168 D V
vs.
PUBL|C BUILD|NG AUTHOR|TY; et a|.,

Defendants.

 

ORDER OF DlSN|ISSAL

 

lt appears to the Court that the P|aintiff has filed a notice seeking to voluntarily
dismiss its complaint
lT lS THEREFORE ORDERED that the above cause be dismissed Without

prejudice based upon the Notice of Dismissa| entered on l\/iay 5, 2005.

|T IS SO ORDERED this gaf day Of %}g£d 2005.
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This document entered on the docket sheet n con(a l
with Rule 55 and/or 32(b) FRCrP on ga

 

D1R11 COURT - WESTERN1CSR1T oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02168 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honcrable Bernice Donald
US DlSTRlCT COURT

